   17-13162-shl        Doc 504        Filed 06/25/18        Entered 06/25/18 14:11:14                  Main Document
                                                           Pg 1 of 1

                               SCHILLER, KNAPP,
                           LEFKOWITZ & HERTZEL, LLP
                                              Attorneys and Counselors at Law
                                                  _________________________

                            950 New Loudon Road, Suite 109, Latham, NY 12110-2100
                                    (518) 786-9069 Fax: (518) 786-1246*
                                           *Not For Service of Any Litigation Papers
                                           (ALL REPLIES TO LATHAM OFFICE)



                                                                    June 25, 2018

Hon. Sean H. Lane
United States Bankruptcy Court
One Bowling Green
New York, New York 10004-1408

          Re:   Navillus Tile, Inc. dba Navillus Contracting
                Case No. 17-13162-shl
                Our File No. 18-05473

Dear Judge Lane:

        On behalf of our client, Daimler Trust, a Motion for Relief from the Automatic Stay was filed and is
returnable June 26, 2018. This shall confirm the Motion for Relief Hearing originally scheduled for June 26,
2018 has been adjourned to August 8, 2018 at 11:00 a.m.

        I thank the Court for its kind attention in this matter. Should the Court have any questions or require
anything further, please do not hesitate to contact our office.

                                                                    Respectfully,
                                                                    Schiller, Knapp, Lefkowitz & Hertzel, LLP


                                                                    _/s/ John M. Dubuc ___
                                                                    John M. Dubuc, Esq.
JMD/blf

cc: Elizabeth M. Aboulafia, Esq. (Debtor’s Counsel)




                                ________________________________________
                Buffalo Office: 200 John James Audubon Parkway, Suite 202, Amherst, NY 14228 (518) 786-9069
                      Vermont Office: PO Box 872, 5527 Main Street, Waitsfield, VT 05673 (802) 225-8351
                   New Jersey Office: 30 Montgomery Street, Suite 1205, Jersey City, NJ 07302 (518) 786-9069
 Jaclyn C. Clemmer, Esq. is admitted to practice in NY and NJ and is the responsible attorney for the law firm’s NJ office.

                      Schiller, Knapp, Lefkowitz & Hertzel, LLP, is an LLP formed in the State of New York
